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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


 CITY OF CHICAGO,

                Plaintiff,
                                                       Civil Action No. 1:17-cv-05720
                             v.
                                                       Hon. Harry D. Leinenweber
 MERRICK B. GARLAND, in his official capacity
 as Attorney General of the United States,

                Defendant.


                   AMENDED FINAL JUDGMENT AND ORDER

         Now, this 8th day of March 2022, for the reasons set forth in the Court’s
Memorandum Opinion dated July 27, 2018 (Dkt. 198), the Court’s Memorandum Opinion
of January 13, 2021 in City of Chicago v. Wilkinson, No. 18 CV 06859, and the Court of
Appeals’ June 4, 2020 Amended Opinion, see City of Chicago v. Barr, 961 F.3d 882 (7th Cir.
2020), it is hereby ORDERED that final judgment be entered in favor of Chicago and
against Defendant, Attorney General of the United States. Consistent with Federal Rule of
Civil Procedure 65, the Court grants the City injunctive relief as set forth below.
         Through this lawsuit, the City challenges the Attorney General’s decision to attach
three Conditions to the FY 2017 Edward Byrne Memorial Justice Assistance Grant,
specifically:
         1. The “Access Condition” requires that Byrne JAG recipients permit personnel of
the U.S. Department of Homeland Security to access any detention facility to meet with
undocumented immigrants and inquire as to their right to be or remain in the United States.
         2. The “Notice Condition” requires that Byrne JAG recipients provide DHS at least
48 hours advance notice of the scheduled release date and time of an alien in the
jurisdiction’s custody whenever DHS requests such notice in order to take custody of the
alien upon release. The Attorney General later amended this Condition to clarify that “[i]n
the event that … the scheduled release date and time for an alien are such as not to permit
the advance notice [of scheduled release] … it shall not be a violation of this condition to
provide only as much advance notice as practicable.”
         3. The “Compliance Condition” requires that Byrne JAG recipients certify
compliance with 8 U.S.C. § 1373.

                                  I.   DECLARATORY RELIEF

        For the reasons stated in the aforementioned Opinions of this Court and the Court
of Appeals, the Court declares that the Attorney General, who is limited by longstanding
principles of separation of powers to act only in accordance with congressional directives,
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exceeded the authority delegated by Congress in the Byrne JAG statute, 34 U.S.C. § 10151 et
seq., and in 34 U.S.C. § 10102, in attaching the Conditions to the Byrne JAG grants. Nothing
in this amended judgment order changes or affects the Court’s basis for awarding permanent
injunctive relief, or the scope of that relief, as set forth more fully above and in the Court’s
opinions.

                            II.     PERMANENT INJUNCTION

         For the reasons stated above and in the aforementioned Opinions of this Court and
the Court of Appeals, it is hereby ORDERED that the Attorney General’s decision to
attach the Conditions to the FY 2017 Byrne JAG grant is set aside and shall have no legal
effect. The Attorney General is enjoined from denying or delaying issuance of any FY 2017
Byrne JAG award insofar as that denial or delay is based on the Conditions. Prohibited
conduct includes: using the Conditions in any FY 2017 Byrne JAG award document,
delaying the processing or approval of a recipient’s requests to draw upon the FY 2017
Byrne JAG funds based on the Conditions, and enforcing the Conditions against FY 2017
Byrne JAG recipients, regardless of whether those Conditions appeared in FY 2017 Byrne
JAG award documents. No recipient’s acceptance of its FY 2017 award may be construed as
acceptance of the Conditions. For purposes of this injunction, “delay” means the failure or
refusal to take an action that the Attorney General has taken for any other FY 2017 Byrne
JAG recipient, if that failure or refusal is based in any way on an applicant’s compliance or
lack of compliance with the Conditions or the litigation involving the Conditions, including
if such failure or refusal is based on the Attorney General’s seeking to preserve the ability to
impose or enforce the Conditions in the future. The Attorney General is further enjoined
from requiring that Byrne JAG grantees certify compliance, pursuant to 34 U.S.C. §
10153(a)(5)(D), with Federal laws that do not expressly apply to federal grants or grant
recipients, such as 8 U.S.C. §§ 1373 and 1644.
         This Order applies to the Attorney General’s imposition of the Challenged
Conditions on the Byrne JAG grant program as a whole. Its effects run to the benefit of all
Byrne JAG applicants and recipients and are not limited to the City of Chicago and its
subgrantees.
         Nothing in this injunction shall preclude the Attorney General from requiring
applicants to provide a general certification that they will comply with applicable federal law,
see 34 U.S.C. § 10153(a)(5)(D), nor shall this injunction be construed as conferring
independent authority on a recipient of grant funds to use them in a manner that violates
federal law. Pursuant to the opinions of this Court and the Seventh Circuit, 8 U.S.C. §§ 1373
and 1644 shall not be considered applicable federal laws for purposes of such a general
certification. Nor shall such a general certification of compliance with applicable federal laws
be read to impose any new obligations that would not apply to grant recipients independent
of the certification or of acceptance of Byrne JAG funding. Finally, such a certification shall
apply only to the use of award funds under the Byrne JAG grant formula program and shall
not reach the use of other funds within the funded program or activity or elsewhere.

                                  III.   FINAL JUDGMENT

        The only remaining Count in this case is Count IV, which the Attorney General
earlier moved to dismiss. The Court denied that effort. In court on August 15, 2018,
Chicago’s counsel conceded that because the Court’s July 28, 2017 Opinion found the City
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entitled to injunctive relief (Dkt. 198), Count IV became moot. The Court accordingly
dismissed that Count.
         There being no Counts remaining to be decided on the merits, the Court now enters
final judgment in this case. Fed. R. Civ. P. 58.

IT IS SO ORDERED.

                                                     ____________________
                                                     Harry D. Leinenweber, Judge
                                                     United States District Court


Dated: 3/8/2022
